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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

SECURITIES AND EXCHANGE
COMMISSION,
Plaintiff,

Cv. No. 12-12324-MLW

CRAIG MEDOFF,
Defendant.

MEMORANDUM AND ORDER

WOLF, D.J. April 18, 2025

On November 27, 2024, the court issued a Memorandum and Order
(Dkt. No. 812): (a) allowing the Securities and Exchange
Commission's (the "SEC") motion for an order finding defendant
Craig Medoff in civil contempt for violating the May 25, 2016 Final
Judgment in this case that prohibited him from participating in
the issuance, offer, or sale of securities for 10 years; and (b)
ordering Medoff to disgorge the $1,549,961 he obtained in violation
of the Final Judgment plus $222,067.59 in prejudgment interest,
amounting to a total of $1,772,028.59.

However, the court found that the SEC's proposed Contempt
Order (Dkt. No. 809-1) was inadequate. The court proposed three
possible additional provisions, and gave the parties = an

opportunity to address whether they should be included in the final

order and judgment in this case.
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More specifically, the court ordered the parties to address:
(a) whether Medoff should be ordered to pay the required
$1,772,028.59 within 90 days of the commencement of his Supervised
Release in the related criminal case in which he was sentenced to
serve 20 months for criminal contempt; (b) whether, if he does not
timely make that payment, Medoff should be ordered to pay the SEC
20% of his income quarterly until the order of disgorgement is
satisfied as Medoff offered to do before the criminal contempt
proceeding was initiated; and (c) whether Medoff should be ordered
not to participate, directly or indirectly, in any activity
involving the offering or sale of securities for 10 years, which
was ordered in the 2016 Final Judgment and promptly violated by

Medoff operating under an alias.!?

1 As further briefing was ordered and a judgment was not
entered based on it, the November 27, 2024 Memorandum and Order
was not an appealable order. See 28 U.S.C. §1291. Nevertheless, on
January 24, 2025, Medoff filed a notice of appeal of what he
characterized as a "contempt Order dated January 6, 2025" and every
other order contained in it. See Dkt. No. 816. The First Circuit
docketed the notice of appeal on February 3, 2025. See Court of
Appeals Dkt. No. 25-1096. On April 15, 2025, the SEC filed in the
First Circuit a motion to dismiss the appeal for lack of
jurisdiction based primarily on the fact that the November 27,
2024 Memorandum and Order is not final. See Document 00118272878

at 7-9.
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The SEC responded that it agreed that proposals (a) and (c)
should be included in the final order and judgment in this case.

See Dkt. No. 814. More specifically, it wrote that Medoff should

be required to pay the full amount ordered to be disgorged within
90 days of the commencement of his Supervised Release and, if he
does not, be required to satisfy his burden of producing evidence
showing his inability to pay in the manner required by the Supreme
Court and the First Circuit in the cases cited in the November 27,

2024 Memorandum and Order at 14-16. See United States v. Rylander,

460 U.S. 752, 755 (1983); AngioDynamics, Inc. v. Biolitec AG, 780

F.3d 420, 426-27 (1st Cir. 2015); In re Power Recovery Systems,

Inc., 950 F.2d 798, 804 (list Cir. 1991); Combs v. Ryan's Coal Co.,

Inc., 785 F.2d 970, 975 (llth Cir. 1986); United States v. Puerto

Rico, 642 F.3d 103, 108 n.8 (1st Cir. 2011); Commodity Futures

Trading Comm'n v. Wellington Precious Metals, Inc., 950 F.2d 1525,

1529 (11th Cir. 1992).

However, the SEC requests that the court not include in the
final order and judgment in this case a requirement that if Medoff
does not make timely payment of the amount ordered to be disgorged
he be ordered to pay the SEC 20% of his income quarterly until the
order of disgorgement is satisfied. The SEC states that attempting
to monitor orders of this type has proven to be “unduly difficult

because they inherently rely on the veracity of the information
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provided by the Defendant regarding his income." Dkt. No. 814 at
3-4; 814-1, @ 6.

In his pro se response to the November 27, 2024 Order (Dkt.
No. 815) Medoff opposes inclusion in the final order and judgment
in this case of any of the three provisions the court proposed for
consideration by the parties. Among other things, Medoff asserts
that if he does not comply with the order of disgorgement, the
court does not have the authority to require him "to come forward
with evidence showing categorically and in detail why he is unable
to comply." Dkt. No. 815 at 6, 7 21. This is not correct. As the
court wrote in the November 27, 2024 Order, at 14-15, the language
to which Medoff objects is exactly what the Supreme Court wrote

concerning the burden of production in Rylander, 460 U.S. at 759.

The burden of production is explained in that Order at pages 15-
16. As the court also explained, "[i]f Medoff satisfies his burden
of production concerning any alleged inability to satisfy the order
of disgorgement, the burden of persuasion [meaning of proof] will
shift to the SEC to demonstrate that he is able to pay the required
amount." Id. at 16 (citing CFTC, 950 F.2d at 1529; Combs, 785 F.2d
at 975).

Medoff also objects to the court's statement in the November
27, 2024 Memorandum and Order, at 15-16, that to satisfy his burden
of production Medoff will have to show that he made in good faith

a reasonable effort to persuade the trustee of the Trust holding
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more than $900,000 for his benefit to contribute to satisfying
partially the order of disgorgement. Dkt. No. 815 at 7, ff 23.
However, Medoff states that the trustee, who is his cousin,
complied with Medoff's request for $10,000 to retain counsel in
this case because attempting to avert the institution of criminal
contempt proceedings and a possible prison sentence would be good
for Medoff's health and welfare. It is possible that the trustee
would also reasonably decide that contributing some or all of the
trust funds to settle and finally resolve this case would also
serve Medoff's health and welfare.

Similarly, Medoff objects to the court's discussion in the
November 27, 2024 Memorandum and Order, at 16, of Mark Levy. In
his request for appointment of Criminal Justice Act counsel Medoff
represented that Levy had loaned him at least $206,935 to be paid

back monthly in whatever amount Medoff could afford. See United

States v. Medoff, Cr. No. 24-10048, Dkt. Nos. 4 (unsealed), 103,

121. The “loan” included no provision for interest initially. See
Cr. No. 24-10048, Dkt. Nos. 103, 121.% After being ordered to
report to the court concerning the "loan" Medoff prepared a
Promissory Note dated April 30, 2024. See Cr. No. 24-10048, Dkt.

No. 121. According to a schedule filed by Medoff on May 14, 2024,

2The cited documents were unsealed and provided to Probation
and the government in connection with Medoff's sentencing. See
Dkt. No. 167.
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the debt to Levy appears to be for credit card and other bills of
Medoff's that Levy paid, including payments for numerous purchases
Medoff described as "Drizly," "Burocupid," "Beautcella,"” “Amazon,"
"Nordstrums," "Bloomingdales," "Spotify," and "Dentist." See Cr.
No. 24-10048, Dkt. No. 103-1. As summarized on pages 9 and 10 of
the November 27, 2024 Memorandum and Order, these facts, among
others, caused the court at the conclusion of Medoff's sentencing
in the criminal case to state that if Medoff did not pay the
$20,000 fine that he had been ordered to pay immediately it hoped
that the United States Attorney's Office would be serious about
trying to determine if Levy was holding Nova funds for the benefit
of Medoff. Consistent with this, in the November 27, 2024
Memorandum and Order, at 16, the court wrote that to satisfy his
burden of production Medoff will be required to produce evidence
that Levy is not holding money that is Medoff's.

In its response to the November 27, 2024 Memorandum and Order,
the SEC wrote:

Should the Office of Collections find evidence that
Medoff's failure to pay the judgment constitutes civil
contempt because he has the ability to pay and he has
not, it will file the appropriate civil contempt
motion with the Court and, by virtue of the Court's
order, Medoff should have already produced whatever
evidence he possesses to demonstrate categorically and
in detail why he cannot comply with the Court's Order.
Schlutze Declaration, @ 6. The Commission anticipates
that the parties would then immediately proceed to an
evidentiary hearing regarding civil contempt.

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Dkt. No. 814 at 3 n.l. The SEC's position that the SEC should
already have all of the evidence concerning why Medoff might not
be able to comply with the order of disgorgement being issued
suggests that the SEC is again ignoring the questions concerning
Levy that the court raised at Medoff's sentencing and amplified in
the November 27, 2024 Memorandum and Order, at 9-10. It also
indicates that the SEC does not intend to attempt to determine
whether Medoff made a good faith, reasonable effort to persuade
the trustee of the Trust for his benefit to contribute some or all
of the trust funds to resolve this matter in an agreement
satisfactory to the court.

The court expects that, if necessary, the SEC will investigate
these issues. In any event, if necessary, the court will explore
them in hearings to determine whether Medoff. has satisfied his
burden of production concerning any asserted inability to pay any
or all of the $1,772,028.59 Medoff is being ordered to disgorge.

Having considered the parties' submissions, the court has
decided that it will not include in the final order and judgment
in this case a requirement that Medoff pay the SEC 20% of his
income if he does not timely pay disgorgement in the amount of
$1,772,028.59. The court's other two proposed conditions are being

included.
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Therefore, it is hereby ORDERED that:

1. The Motion by the Securities and Exchange Commission for
Final Order Finding defendant Craig Medoff in Civil Contempt and
Ordering Disgorgement and Prejudgment Interest (Dkt. No. 803) is
again ALLOWED.

2. Medoff shall pay disgorgement in the amount of
$1,549,961, and prejudgment interest in the amount of $222,067.59,
for a total of $1,772,028.59 to the Securities and Exchange
Commission within 90 days after the commencement of his Supervised

Release in United States v. Medoff, Cr. No. 24-10048, or 90 days

after his release from custody if his sentence in that case is
vacated (the "Payment Date").

Medoff may transmit payment electronically to the Securities
and Exchange Commission, which will provide detailed ACH
transfer/Fedwire instructions upon request. Payment may also be
made directly from a bank account via Pay.gov through the
Securities and fxchange Commission website at
nttp://www.sec.gov/about/offices/ofm.htm. Medoff may also pay by
certified check, bank cashier's check, or United States postal
money order payable to the Securities and Exchange Commission,
which shall be delivered or mailed to:

Enterprise Services Center
Accounts Receivable Branch

6500 South MacArthur Boulevard
Oklahoma City, OK 73169
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and shall be accompanied by a letter identifying the case title,
Civil action number, and name of this court; Craig Medoff as a
defendant in this action; and specifying that payment is made
pursuant to this order.

Medoff shall simultaneously transmit photocopies of evidence
of payment and case identifying information to the Securities and
Exchange Commission's counsel in this action. By making this
payment, Medoff relinquishes all legal and equitable right, title,
and interest in such funds and no part of the funds shall be
returned to Medoff.

Medoff also shall file with the court, no later than 7 days
after the Payment Date, a status report indicating evidence of
payment of $1,772,028.59 to the Securities and Exchange Commission
or, in the alternative, a statement indicating that the required
payment has not been made.

3. If Medoff does not timely make the $1,772,028.59 payment
required in paragraph 2 hereinabove by the Payment Date, Medoff
shall file with the court within 30 days of the Payment Date
evidence showing categorically and in detail why he is unable to
make the required payment, including, but not limited to, evidence
concerning:

a) efforts made by him to obtain funds from the Evelyn Medoff
Irrevocable Inter Vivos Trust to make all or part of the

required payment; and
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b) whether and to what extent Mark Levy is holding money or
assets that belong to Medoff and/or is willing to provide
Medoff funds to pay his debt in this case as Levy has paid
other debts of Medoff in the past.

If Medoff does not make the $1,772,028.59 payment required in
paragraph 2 hereinabove, by the Payment Date, the Securities and
Exchange Commission may engage in expedited discovery regarding
the non-payment including, but not limited to:

a) efforts made by Medoff to obtain funds from the Evelyn
Medoff Irrevocable Inter Vivos Trust to make all or part
of the required payment; and

b) whether and to what extent Mark Levy is holding money or
assets that belong to Medoff and/or is willing to provide
Medoff funds to pay his debt in this case as Levy has paid
other debts of Medoff in the past.

4, Medoff, any entity owned or controlled by him, his
agents, servants, employees, attorneys, and all persons in active
concert or participation with them who receive actual notice of
this order by personal service or otherwise, are restrained and
enjoined for a period of ten years from the date of this order
from participating in the issuance, offer, or sale of any security;
provided, however, nothing shall prevent Medoff from purchasing or

selling securities for his own account.

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5. The Securities and Exchange Commission may enforce the
court's judgment for disgorgement and prejudgment interest by
using all collection procedures authorized by law. The Securities
and Exchange Commission shall hold any funds paid pursuant to this
order, together with any interest and income earned thereon,
pending further order of the court.

CArte nds

UNITED STATES DISTRICT JUDGE

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